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                                        CHS REPORTING DOCUMENT



CLIFF SINGER knew about the FBI investigation as soon as CHS was home on September 24, 2018. CHS asked
CLIFF what it was like to be in "camp," referring to prison. CLIFF explained his experience to CHS while CHS used
the taxi driver's phone on CHS' way home that day. CHS talked to CLIFF at length on an unauthorized phone,
    -5704.

The following responses were provided by DON HELLER:

DON confirmed that he told CHS to purchase the unauthorized phone,             -5704, to be used for DON and
CHS' family. DON stated his reasoning for allowing CHS to purchase a new phone were as follows: he had trouble
reaching CHS on the authorized phone,            -5816, there was bad reception, and he thought the authorized
phone was monitored/maybe having to or from information received. DON was very leery about computer
protections. DON did not trust the Agents, and has had prior experience of abuse of attorney/client privilege
information. DON felt he developed a level of trust with the Agents over time.

[Agent Note: On numerous occasions throughout the investigation both CHS and DON were told that the
authorized phone,          -5816, was not monitored and was to only be used by CHS for contact with DON, the
Agents, and the AUSA's. Despite DON later developing trust with the Agents, the unauthorized phone was only
discovered through specifically asking the CHS if CHS owned or used any other phones.]

Synopsis:
Interview 10/23/2018 - 10/24/2018

                                                SIGNATURE

               Submitted By
     First Level Approved By




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